
577 S.E.2d 620 (2003)
357 N.C. 48
STATE of North Carolina
v.
Darlon Dillon KINLOCK.
No. 476A02.
Supreme Court of North Carolina.
March 28, 2003.
Roy Cooper, Attorney General, by Isaac T. Avery, III, Special Deputy Attorney General, and Patricia A. Duffy, Assistant Attorney General, for the State.
Christopher Wyatt Livingston, White Oak, for defendant-appellant.
American Civil Liberties Union of North Carolina Legal Foundation, by Seth H. Jaffe, Raleigh, amicus curiae.
PER CURIAM.
AFFIRMED.
